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                       UNITED STATES DISTRICT COURT                  FILED
                      SOUTHERN DISTRICT OF CALIFORNIA
                                                                  n JAN 24 PM 3‘ 22

UNITED STATES OF AMERICA,                  CASE NO.

                       Plaintiff,                               nr               SMJTY

               vs.                         JUDGMENT OF DISMISSAL
KATHERINE TAPIA (3),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

X    the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

X    of the offense(s) as charged in the Indictment:

     TITLE 21 U.S.C. §952,960; TITLE 21 U.S.C. §952,960,963;

     TITLE 18 U.S.C. §2.

           IT IS THEREFORE ADJUDGED that the de             .dant is hereby discharged.


DATED: JANUARY 17, 2017
                                           /
                                               Hon.  ger/T. Benitez
                                               U.S. District Judge
